Case 1:20-cv-11227-ADB Document 1

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NICHOLAS A). MASTROJANNI 11; A PERSON; 5

restore property ;
MANAGER: U.S. IMMIGRATION FUND, LLC,

I this Court of reverd:; at Common law ;
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- the tort did ond olves emotional nol fenaaciol harm anol Yn jury to i -

~ the commencmert of the Wyong andl harm begun on Augast IS , 2018 ;

~ the wrong dnol havin continues to this olay June 25 , 2020 ;

~ 7, requre restitution of my property : USD $ 665 000.00 |

~ 2, require just anol fair compensation a5 Stated in “Latter of Demand’
ta Wrengdloer OIL February 22 , 2019 ;

~ Compensation dlue : USD$ 4890, 000,00 5 | VSP & o, 000.00 per olay Sine.
Merch 12., 2019 /ag9 lays]

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pile; CLAIMS : ToRT Cneghgence ] ; CoMPENSATLON ; RESTITUTLON ; AND ORDER FoR
DEFAULT JUDGMENT TO RESTORE PROPERTY ; curd veri fied eviolence be
oleliveyed ; by hand ; to the Clerk of Court ; onl by hand ; To Wwrengelsers :
Nicholas A, Mastroiennt , JI, a men; NICHOLAS A, MASTROIANNL ,J1; A PERSON;

/NANAGER) U.S LMWIGRATION FUND, Lhe. ths 2th oloy cf June, 2020; ot the.
colblyes¢ given below :

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Jo: Long HonGM&]

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Attn: NLCHOLAS A. MASTROJANWI ,1] > AMAWAGER
U.S  LNMIGRATION FUND , LL.
(IS FRONT STREET, SULTE 300

JUPITER , FLORIDA » 3347)
Case 1:20-cv-11227-ADB Document1 Filed 06/25/20 Page5of5

RopeeT M. FARRELL ; CLERK OF COURT
JOHN JOSEPH OAKLEY UNITED S/ATES COURTHOUSE

| COURTHOUSE WAY
BoSTon , MASSACHUSETTS 02210

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COMMERCIAL OATH AND VERIFLCATION

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